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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


AVANT LOCATION TECHNOLOGIES
LLC,
                   Plaintiff,                             Civil Action No. 2:24-CV-0757-JRG
                                                          (LEAD CASE)
       v.
                                                          JURY TRIAL DEMANDED
APPLE INC.,
                             Defendant.


                        ORDER GRANTING DEFENDANT APPLE INC.’S
                                 MOTION TO DISMISS

       Before the Court is Defendant Apple Inc.’s Motion to Dismiss or, Alternatively, to

Transfer to the Northern District of California. Having considered all materials and arguments

submitted in connection therewith, the Court finds that the Motion should be and hereby is

GRANTED, and the case is hereby DISMISSED.

       IT IS SO ORDERED.
